Case 8:07-cr-00137-JSM-AEP Document 188 Filed 02/21/14 Page 1 of 6 PageID 532



                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION


VICTOR DONNELL JOSHUA LEE,

        Petitioner,

v.                                                                  CASE NO. 8:13-cv-3127-T-30EAJ
                                                                 CRIM. CASE NO. 8:07-cr-137-T-30EAJ
UNITED STATES OF AMERICA,

      Respondent.
______________________________/


                                                   ORDER

        Lee’s amended motion to vacate pursuant to 28 U.S.C. § 2255 (CV Dkt. 3) challenges

the validity of his 2008 plea-based convictions for conspiracy to possess with intent to

distribute five kilograms or more of cocaine, attempted possession with intent to distribute

five kilograms or more of cocaine, and aiding and abetting another person who carried a

firearm in furtherance of a drug trafficking crime (CR Dkt. 149). Lee was sentenced to 120

months in prison on Counts 1 and 2 (concurrent), and a consecutive 60 month prison

sentence on Count 4 (Id.). Judgment was entered on January 15, 2008 (Id.). Lee did not file

a timely notice of appeal.

        Rule 4, Rules Governing Section 2255 Cases, requires a preliminary review of the

motion to vacate. Section 2255 requires denial of the motion without a response if the

“motion and the files and records of the case conclusively show that the prisoner is entitled

to no relief . . . .” Accord Wright v. United States, 624 F.2d 557, 558 (5th Cir. 1980)1 (The

        1
         Unless later superseded by Eleventh Circuit precedent, a Fifth Circuit decision issued before October 1,
1981, binds this court. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
Case 8:07-cr-00137-JSM-AEP Document 188 Filed 02/21/14 Page 2 of 6 PageID 533



summary dismissal of a Section 2255 motion was proper “[b]ecause in this case the record,

uncontradicted by [defendant], shows that he is not entitled to relief.”); Hart v. United

States, 565 F.2d 360, 361 (5th Cir. 1978) (“Rule 4(b) of § 2255 allows the district court to

summarily dismiss the motion and notify the movant if ‘it plainly appears from the face of

the motion and any annexed exhibits and the prior proceedings in the case that the movant

is not entitled to relief.’”). Upon review of the amended motion to vacate and record, the

Court concludes that the motion must be dismissed as time-barred.

                                       ANALYSIS

       The Anti-Terrorism and Effective Death Penalty Act of 1996 (“AEDPA”) was enacted

on April 24, 1996. The AEDPA added a new statutory limitations period to 28 U.S.C. §

2255. Akins v. United States, 204 F.3d 1086, 1089 (11th Cir. 2000), cert. denied, 531 U.S.

971 (2000). Section 28 U.S.C. § 2255(f) provides:

       A 1-year period of limitation shall apply to a motion under this section. The
       limitation period shall run from the latest of:

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United
       States is removed, if the movant was prevented from making a motion by such
       governmental action;

       (3) the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme Court
       and made retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented could
       have been discovered through the exercise of due diligence.

28 U.S.C. § 2255 (f).

                                             2
Case 8:07-cr-00137-JSM-AEP Document 188 Filed 02/21/14 Page 3 of 6 PageID 534



         Because Lee did not file a direct appeal, his judgment of conviction became final 10

business days after entry of his judgment on January 15, 2008, when the time for filing an

appeal expired. See Adams v. United States, 173 F.3d 1339, 1342 (11th Cir. 1999).

Consequently, his limitations period expired one year later in January 2009.

         On November 19, 2012, Lee filed a pleading that he titled “Rule 60(b)(4).” (CR Dkt.

160). The Court treated the pleading as a notice of appeal of his judgment of conviction.

The Eleventh Circuit Court of Appeals, however, transferred the pleading to this Court to

docket it as a § 2255 motion (CR Dkt. 184). Therefore, because the construed § 2255 motion

was filed more than three years after the expiration of the limitations period, Petitioner’s §

2255 motion is untimely. Consequently, the only way for Lee to avoid the time bar under

§ 2255(f) is to demonstrate that equitable tolling applies. See Holland v. Florida, ___ U.S.

___, 130 S. Ct. 2549, 2554 (2010) (“[T]he timeliness provision in the federal habeas corpus

statute is subject to equitable tolling.”).2




         2
          Lee appears to assert his “actual innocence” of the crimes to which he pleaded guilty. Actual innocence, if
proved, permits a petitioner to overcome the expiration of the statute of limitations. McQuiggin v. Perkins, 133 S.Ct.
1924, 1928 (2013). To prove actual innocence, a prisoner must show that, in light of new evidence, no reasonable
juror would have found him guilty beyond a reasonable doubt. Id. (citing Schlup v. Delo, 513 U.S. 298 808 (1995);
House v. Bell, 547 U.S. 518 (2006)). And, “[a]ctual innocence means factual innocence, not legal insufficiency.”
Daniels v. Warden, FCC Coleman - USP I, 2013 U.S. App. LEXIS 19227, at *5 (11th Cir. Sept. 18, 2013)
(unpublished) (citing Bousley v. United States, 523 U.S. 614, 623 (1998)). Lee is not entitled to an actual innocence
exception to the time-bar because he has presented no new evidence of his factual innocence. His assertions that his
plea was unknowing, unintelligent, and involuntary because the surveillance tapes were “in Spanish,” and that trial
counsel rendered ineffective assistance during the plea and sentencing proceedings are not claims of actual
innocence. See, e.g., Charles v. Chandler, 180 F.3d 753, 757 (6th Cir.1990) (invalid guilty plea and ineffective
assistance of counsel claims are not claims of actual innocence).

                                                          3
Case 8:07-cr-00137-JSM-AEP Document 188 Filed 02/21/14 Page 4 of 6 PageID 535



        Lee argues entitlement to equitable tolling.3 Specifically, he argues that he is entitled

to equitable tolling because he “lingered under the mistaken belief that Counsel had filed his

Notice of Appeal as directed.” (CV Dkt. 3 at p. 13).

        “Generally, a litigant seeking equitable tolling bears the burden of establishing two

elements: (1) that he has been pursuing his rights diligently, and (2) that some extraordinary

circumstance stood in his way.” Pace v. DiGuglielmo, 544 U.S. 408, 418 (2005). Lee has

failed to establish the requisite diligence which is required to show his entitlement to

equitable tolling. Lee alleges that he asked his attorney to file a notice of appeal of his

judgment of conviction, “made numerous attempts to contact him via handwritten letters”

(CV Dkt. 1 at p. 7), and “lingered under the mistaken belief that Counsel had filed his Notice

of Appeal as directed” (CV Dkt. 3 at p. 13). Nevertheless, Lee has failed to provide any

evidentiary support for his assertions, allege any specific facts regarding the dates on which

he attempted to contact counsel regarding the status of his appeal, and allege that he

specifically inquired regarding his federal remedy pursuant to 28 U.S.C. § 2255. See

Tapanes v. McNeil, 2011 U.S. Dist. LEXIS 15707, *15 n.8 (S.D. Fla. Jan. 18, 2011) (absent

supporting evidence in the record, a court generally cannot consider a habeas petitioner’s

vague and conclusory assertions) (citing Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir.

1991)). See also Webster v. Sec’y for the Dep’t of Corr., 384 Fed. Appx. 977, 983 (11th Cir.

Fla. 2010) (unpublished opinion) (where petitioner made only one inquiry as to the status of



        3
          On December 17, 2013, the Court directed Lee to show cause why the motion should not be dismissed as
time-barred (CV Dkt. 2 at p. 2).

                                                       4
Case 8:07-cr-00137-JSM-AEP Document 188 Filed 02/21/14 Page 5 of 6 PageID 536



his appeal, three years after he filed the notice of appeal, petitioner did not establish that he

acted with due diligence in investigating the status of appeal).

       In sum, Lee is not entitled to equitable tolling because he has not demonstrated that

the untimely filing of his § 2255 motion was the result of extraordinary circumstances that

were both beyond his control and unavoidable even with diligence.

       ACCORDINGLY, the Court ORDERS that:

       1.     The amended motion to vacate, set aside, or correct sentence (CV Dkt. 3) is

              DISMISSED as time-barred.

       2.     The Clerk shall terminate all pending motions, and close this case.

       3.      If Lee can show by record evidence that his § 2255 motion is not time-barred,

              the Court will entertain a motion to reopen this case if Petitioner files the

              motion within twenty-eight (28) days from the date of this Order.

  CERTIFICATE OF APPEALABILITY AND LEAVE TO APPEAL IN FORMA
                       PAUPERIS DENIED

       IT IS FURTHER ORDERED that Lee is not entitled to a certificate of appealability.

A prisoner seeking a writ of habeas corpus has no absolute entitlement to appeal a district

court's denial of his petition. 28 U.S.C. § 2253(c)(1). Rather, a district court must first issue

a certificate of appealability (COA). Id. “A [COA] may issue … only if the applicant has

made a substantial showing of the denial of a constitutional right.” Id. at § 2253(c)(2). To

merit a certificate of appealability, Petitioner must show that reasonable jurists would find

debatable both (1) the merits of the underlying claims and (2) the procedural issues he seeks

to raise. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 478 (2000); Eagle

                                               5
Case 8:07-cr-00137-JSM-AEP Document 188 Filed 02/21/14 Page 6 of 6 PageID 537



v. Linahan, 279 F.3d 926, 935 (11th Cir 2001). Because reasonable jurists would not find

debatable the conclusion that the § 2255 motion is time-barred, Lee cannot satisfy the second

prong of the Slack test. 529 U.S. at 484.

       Finally, because Lee is not entitled to a certificate of appealability, he is not entitled

to appeal in forma pauperis.

       DONE and ORDERED in Tampa, Florida on February 21, 2014.




SA:sfc
Copy furnished to:
Pro Se Petitioner




                                               6
